Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 1 of 36




       EXHIBIT 9
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 2 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 3 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 4 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 5 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 6 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 7 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 8 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 9 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 10 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 11 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 12 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 13 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 14 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 15 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 16 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 17 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 18 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 19 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 20 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 21 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 22 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 23 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 24 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 25 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 26 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 27 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 28 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 29 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 30 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 31 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 32 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 33 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 34 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 35 of 36
Case 4:18-cv-00123 Document 273-9 Filed on 12/04/19 in TXSD Page 36 of 36
